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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER PRUETTE
STEVEN PEUETTE Trading as
INSEARCH PARTNERS

                                                   No. 2:18-cv-03734




       V.




EGAN JONES RATINGS COMPANY

                      Respondent



                             ANSWER WITH COUNTERCLAIM

       Defendant, Egan Jones Ratings Company ("Ratings"), by and through its

undersigned counsel, herein responds to the averments in Plaintiffs Complaint seeking

judgment be entered in its favor and asserts a counterclaim demanding damages from


Plaintiffs, averring in support thereof:

       1. Admitted.

       2. Admitted.

       3. Admitted.

       4. Admitted.

       5. Denied. After reasonable investigation, Ratings is unable to admit or deny

the veracity of the averment and it is therefore denied.

       6. Admitted in part, denied in part. It is admitted only that Ratings has a

principal place of business located at the Haverford address.

       7. Admitted in part, denied in part. It is admitted the Agreement was enetered

into. The remainder of the averment is denied. The Agreement was for a defined term and
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the Plaintiffs on at least two occasions admitted in writing that the Agreement expired in

December 2003. See Proposed agreement executed by Steven Pruette and handwritten note


from Steven Pruette, true and correct copies of which are attached hereto and made a part


hereof as Exhibit's A and B respectively.

       8. Admitted in part, denied in part. It is admitted an Agreement was reached in

2003, however it was a written document. See Exhibit A. There was never an agreement


reached related to proxy services. It is specifically denied that any agreement related to

proxy sales incorporated any terms of the 1998 Agreement.


       9. Denied.


       10. Admitted in part, denied in part. It is admitted that as the parties never

entered into an agreement, there could be no arbitration provision.


       11. Denied.


       12. Admitted in part, denied in part. It is admitted that commissions were paid,

but it is denied commissions were paid pursuant to any agreement with Plaintiffs.

       13. Admitted in part, denied in part. It is admitted that commissions were

stopped. As the parties attempted to define their relationship in 2006 Ratings wrote to

inform Plaintiffs that any prior agreements were terminated and that a new commission

structure would be implemented. <SOe Letter dated May 6, 2006 which is attached hereto

and made a part hereof as Exhibit "C". The new terms provided that commissions would


cease after several renewals. As of September 2014, Plaintiffs were no longer entitled to

commissions on further renewals.


       14. Admitted. It is admitted that payments were stopped due to the material

breaches of Ratings' Code of Conduct and Securities and Exchange Commission

("SEC")rules and regulations. The conduct resulted in Christopher Pruette being suspended

from any relationship with Ratings as required by the Code of Conduct and the SEC rules
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and regulations.


        15. Denied. <Si°e prior answer.


        16. Denied. It is denied that any such demand was made as Pruette was fully

informed of his suspension.


        17. Denied. The averment constitutes a conclusion of law to which no response is


required.


        18. Denied. The averment constitutes a conclusion of law to which no response is


required.


        19. Admitted in part, denied in part. It is admitted the language appears in the

1998 Agreement. It is specifically denied said language was ever part of any arrangement

by which proxy Sales were controlled.

                                                  COUNT I

        20. Ratings incorporates by reference the responses to the averments in


paragraphs 1 through 19 as iffuUy set forth herein.

       21. Denied. The averment constitutes a conclusion of law to which no response if


required.


                                                  COUNT II

       22. Ratings incorporates by reference the responses to the averments in


paragraphs 1 through 21 as iffuUy set forth herein.

       23. Denied. The averment constitutes a conclusion of law to which no response if


required.


                                              JURY DEMAND

       24. Denied. As Plaintiffs fail to set forth a claim for relief upon which relief may

be granted, it is denied that Plaintiffs are entitled to a jury trial.

       WHEREFORE, Egan Jones Ratings Company demands judgment be entered in its
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favor and against Plaintiffs along with an award of costs, fees and any other relief the court

deems appropriate.


                                    AFFIRMATIVE DEFENSES

        25. Ratings incorporates by reference the responses to the averments in


paragraphs 1 through 24 as iffuUy set forth herein.

        26. Plaintiffs fail to set forth a cause of action upon which relief may be granted.

        27. Plaintiffs" claims are barred by the applicable statutes of limitations.

       28. Plaintiffs' claims fail for failure of consideration.

       29. Plaintiffs' claims fail as they have received payment for any sums owed.

       30. Plaintiffs' claims are barred by the doctrine of res judicata.

       31. If there was legally enforceable agreement, the material breaches by

Christopher Pruette of Rating's Code of Conduct and the SEC rules and regulations excuse

any further performance by Ratings.

       32. Any claim for damages is void on public policy grounds due to the material

breaches of the Code of Conduct and SEC rules and regulations.

       WHEREFORE, Egan Jones Ratings Company demands judgment be entered in its

favor and against Plaintiffs along with an award of costs, fees and any other relief the court

deems appropriate.


                                           COUNTERCLAIM

       33. Ratings incorporates by reference the responses to the averments in


paragraphs 1 through 24 as well as the averments in paragraphs 25 through 32 as iffuUy

set forth herein.


       34. No agreement, either oral or written was reached between the parties as to


the compensation due Plaintiffs for the sale of proxy services.

       35. Despite no agreement, Plaintiffs were compensated.
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       36. After the suspension of Christopher Pruette, Ratings discovered overpayment

to Plaintiffs related to proxy sales.

       37. Ratings is entitled to recoup the over payments.


       WHEREFORE, Egan Jones Ratings Company demands judgment be entered in its

favor and against Plaintiffs along with an award of costs, fees and any other relief the court

deems appropriate.




                                           Respectfully submitted,



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